






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. WR-73,501-01




KEITH DEWAYNE HAYNES, Relator

v.

HARRIS COUNTY DISTRICT CLERK, Respondent




ON APPLICATION FOR A WRIT OF MANDAMUS
CAUSE NO. 1018952 IN THE 263rd JUDICIAL DISTRICT COURT
FROM HARRIS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O R D E R


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed an application for a writ of habeas corpus
in the 263rd Judicial District Court of Harris County, more than 175 days ago, and that the
application has not yet been forwarded to this Court.  
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Harris County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting a copy of a timely filed order which designates issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); stating that the
nature of the claims asserted in the application filed by Relator is such that the claims are not
cognizable under Tex. Code Crim. Proc. art 11.07, § 3; or stating that Relator has not filed an
application for habeas corpus in Harris County.  This application for leave to file a writ of mandamus
shall be held in abeyance until the respondent has submitted the appropriate response.  Such response
shall be submitted within 30 days of the date of this order.


Filed: March 10, 2010
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